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I aot. Page 54 669
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——
i A Department of the Treasury — Internal Revenue Service AAAS A Oyezt } Svs sUs-—7F
U U. S. individual lncome Tax Retu m ZV | IRS Use Onty — Do nat write or staple in this space. +
For the year Jan 1 - Dee 31, 2007, or other tax year beginning ~—2007, end ending , OMB No, 1545-0074
Your first name MI Last name ue a ‘ Your soclal securlty number
| GEORGE T _BROKAW May Q 1 2ng _-|278- 40-2356
if 2 joint return, spouse's first name Mi Last name mews : Spouse's sociai security number
IRS label. DEBRA S__BROKAW POSTMARK DAIE |XXX-XX-XXXX
Otherwise, Home address (number and street). It you have a P.O. box, see instructions. Apartment no. You must enter your
please print social security
or type. 2260 PALM DRC A number(s) above.
[ City, town or post office. If you have a foreign address, see instructions. State 2IP code Checking a bor below wil not ; bor bel Trot
. ecking a box below will no
Presidential — ICOLORADO_SPRINGS co 80918 change your tax or refund,
Campaign > Check here if you, or your spouse if filing jointly, want $3 to go to this fund? (see instructions) .... 0.0... » C] You C] Spouse
eo... 1 [4 Single 4 of ttead af haueshold Aeith o: ing person), (See
iin < Stati us . 7 Pa VW SIO (with qualifying ol F350}. Looe
I 9 2 Bel Married filing iointly (even if only one had income) instructions.) If the qualifying person is a child
veers but not your dependent, enter this child's
Check only 3 Married filing separately Enter spouse's SSN above & full name here .
one box. name here . 5 Qualifying widower) with dependent child (see instructions)
Exemptions 6a [KX] Yourself. 1f someone can claim you as a dependent, de not check box 6a ............ /- Boxes chacked 2
| | Spouse ee eek een eee cece ne eee cee cece lea ae beh cece cegeeeec cel eecsaee _! No.of ehildten
' (2) Dependent's (3) Dependent's ® fig an Ge who:
¢ Dependents: social security relationship ualitying & jived
number to you chiid for ciuid with you...
1) First Last tax credit = @ did not
* (1) First name ast name (see instts) tive with you
I CT due to divorce
or separation
C1 (see instrs) ...
. henend
¢ If more than c] on 6c not
four dependents, entered above .
see instructions. [] Add numbers
I d Total number of exemptions claimed |... 0... cece cece eee e ce eueceneer tonnes above... > 2
7 Wages, salaries, tips, etc. Attach Form(s) W-2 200000000 ccc cee cece ecu ecen enue 7
income 8a Taxable interest, Attach Schedule B if required 2.00000... 00 ccc ccc cece cece vee eeeancenees 8a 104,018.
b Tax-exempt interest. Do not include on line 8a.............. 8b "
Attach Formés) Ga Ordinary dividends. Attach Schedule B if required. 000... ccc cee cece cree cece eee en ees 9a
| tt -2 here. Also b Qualified dividends (see instrs) ...............002cccecceceeeeceee | gpl —
*attach Forms 10 Taxable refunds, credits, or offsets of state and local income taxes (see instructions) ...................... 10
W-2G and 1099-R .
nt tax was withheld, WT Alimony received 0... ccc cece renee ee eee tebe tbe t betes nu tnenbennees uu
did not 12 Business income or (loss). Attach Schedule C of C-EZ 00... 000s cece ee euee peers 12 88,020. /
get a W.2 n 13 Capital gain or (ioss). Att Sch D if reqd. if not reqd, ch here... 00... eee eee Ful 13
! see instructions. 14 Other gains or (losses). Attach Form 4797 00000... 00 ccc ccc ccc cece ccc cece eee e eee ees 14
15a IRA distributions ............ 15a Ib Taxable amount (see instrs) ..| 15b
16a Pensions and annuities ...... 16a |b Taxable amount (see instrs) ..[ 16b 11,017. wv
17 Rentat real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E ..{ 17
I Enclose, but do 18 Farm income or (loss). Attach Schedule Foo... 0. ccc cece reece tere neuer eeernes 18
not attach, any 19 Unempioyment compensation ......0... 00.0: cece ccc ccc c cess ee eseneeneteaneeueeaners 19
Payment, A's0, 20 a Social security benefits... 0.0.0... 20a | b Taxable amount (see instrs) ..| 20b
please use
Form 1040-V. 21 Otherincome
22 Add the amounts in the far right column for lines 7 through 21. This is your total income . > 203,055.
I a ea 23 Educator expenses (see instructions) .....00000 0. ee 23
Aqjusied 24 = Certain business expenses of reservists, performing artists, and fee-basis
Gross government officials. Attach Form 2106 or 2106-EZ 60.0.0... . eee 24
Income 25 Health savings account deduction. Attach Form 8889 ........ 25
26 Moving expenses. Attach Form 3903 ..........00. cc cue eee 26
| 27 One-half of self-employment tax. Attach Schedule SE........ 27 6,219.
os Self-employed SEP, SIMPLE, and qualified plans............ 28
Self-employed health insurance deduction (see instructions) ............. 29
RECEIVES) Penalty on early withdrawal of savings .....0.......0....005 30
31 a Alimony paid b Recipient's SSN... _.| 31a
i . sandRA deduction (see instructions) .............0cc cece eee eee 32
MAY 6 6 &8U Student toan interest deduction (see instructions)............ 33
34 Tuition and fees deduction. Attach Form 8917 ............... 34
INTERNAL REVENLSSSERMESc production activities deduction. Attach Form 8903.............. 35
FRESNO, G6 Add lines 23 - 3a and 32-35 00.0 e cece cece cece cece eeaceeeeestaneeuteeceterens 36 6,219.
I 37 Subtract line 36 fram line 22. This is your adiusted aross income .. arcari\ imr >! 37 196, 836,
| BAA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see instructions. FDIAQI12 12/06/07 Form 1040 (2007)
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i | 77 FRP 303 |

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"Form 1040 (2007)

 

GEORGE T & DEBRA S BROKAW 278 -40-2356 Page 2

 

   

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tax and 38 Amount from, line 37 (adjusted gross income) ............ Gene 196,836.
Credits 39a Check You were born before January 2, 1943, Blind. Total boxes
{ Spouse was born before January 2, 1943, Blind. checked * 39a a
Standard b If your spouse itemizes on a separate return, or you were a dual-status alien, see instrs and ck here * = 39b
Deduction 40 Itemized deductions (from Schedule A) or your standard deduction (see left margin).....................1 4@ 10,700.
for = te who [41 Subtract line 40 from line 38 0.0... ccc ccccccecccceceecceeeeeceveterevretecrerteetvenes 41 186,136.
checked any box | 42. If line 38 is $117,300 or less, multiply $3,400 by the total number of exemptions
on line 39a or claimed on line 6d. If line 38 is over $117,300, see the instructions..............cseeeeeee 42 6,800.
39b or who can | 43° Taxable income. Subtract line 42 from line 41.
be claimed as a If line 42 is more than line 41, enter -0- 0.2.2.0... eee ce reece tees te tteee ree enter enn: 43 179,336.
inductions | 44 Tax (see instrs). Check if any tax is from: a |_{Form(s) 8814 b |_| Form 4972
¢ |_| Form(s) 8889.00... eee, 39,207
© All others: 45 Alternative minimum tax (see instructions). Attach Form 6251 ............ 0... scence ees
Single or Married 46 Add lines 44 and 46 eee rte tent en eee eter nnes 39,207.
filing separately, | 47 Credit for child and dependent care expenses. Attach Form 244) ..........1 47
’ 48 Credit for the elderly or the disabled. Attach Schedule R .....| 48
Married filing 49 Education credits. Attach Form 8863 ..................00005
jon or 50 Residential energy credits. Attach Form 5695 ...............
widower, 51 Foreign tax credit. Attach Form 1116 if required .............
$10,700 52. Child tax credit (see instructions), Attach Form 8901 if required
Head of 53 Retirement savings contributions credit. Attach Form 8880 ...| 53
household, 54 Credits from: a [_] Form 8396 b [_] Form 8859 ¢ [_]Form sa39 ..[ 54
55 Other credits: a [ ]5800 b [Jason ¢ [_]rom 55
56 Add lines 47 through 55. These are your total credits ........00.... cece cee ees
57 Subtract line 56 from line 46. If line 56 is more than line 46, enter -O. 0... 39,207
58 Self-employment tax. Attach Schedule SE occ eee tenet teen eee tte 177. 12,437.
Other 59 Unreported social security and Medicare tax from: a CT] Form 4137 b T Form 8919 oo. eae
Taxes 60 Additional tax on IRAs, other qualified retirement plans, etc, Attach Form 5329 if required .. 00... . cee ceca
61 Advance earned income credit payments from Form(s) W-2, box 9 ........... 0. cece eee }
62 Household employment taxes. Attach Schedule H........ 0. pe aes pecpeees 6
63 Add lines 57-62. This is your total tax... 0... Abs | Lecce cece ees lo. oe 51,644.
Payments 64 Federal income tax withheld fromForms W-2 and 1099 . YU iy 64 104,018.
wooo SOsCSS 2007 estimated tax payments and amount applied from 2006 return ........ 65 _
qualifying + 66a Earned income credit (EIC)......\...00 eee, 66a mz
child, attach b Nontaxable combat pay election
Schedule EIC. 67 Excess social security and tier 1 RRTA tax withheld (see instructions)
68 Additional child tax credit. Attach Fdrm 8812
69 Amount paid with request for extension to filel(see instructions) . 6g
70° Payments from: a Oo Form 2439 b ‘Akem 4136 ¢ ror Form $885 7d mt
71 ~~ Refundable credit for prior year minimum tax from Form 8801, line 27... ... 71 |
72 Those are your total paymenty eee eee eee LALO] 2 104,018.
Refund 73 = If line 72 is more than line 63, subtract line 63 from line 72. This is the amount you'overpaid......... Ins 43 52,374.
Direct deposit? 74a Amount of line 73 you want refunded to you: If Form 8888 is attached, check here Pat ipa 92,374.
See instructions =» tb Routing number ........ XXXXXXXXX_ | » ¢ Type: {1 [| Ghecking L_J Savings
and fill in 7ab, © «dAccount number ....... XXXXXXKXXXXXKKXXK
Form 8888. 75 Amount of line 73 you want applied to your 2008 estimatedtax........ >| 75 |
Amount 76 Amount you owe, Subtract line 72 from line 63. For details on how te pay, see insttuctions ............... PL 76
You Owe 77 Estimated tax penalty (see instructions) | 77 | i
Third Party Do you want to allow another person to discuss this return with the IRS (see instructions)? 6.02.0... [| Yes. Complete the following. x] No
Designee Bang’ + rgone Personal igotitication
Stan Under penalties | of perjury, | declare thal J have examined this return and accompanying | schedules and Statements, and to the best of f my knowledge an and
Here belief, they are true, correci, and compiete. Deciaration of preparer toners vaxpayer) is based on ait information of wien préparer nas any KnGwieage.

Joint return?
See instructions.

Keep a copy
for your records.

 

   

 

Ss
Only

       
      
  
    
  

Date

  

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Date

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Cor yours if

 
 
 

FDIAQI!2 12/06/07

 

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" Schedule B (Form

 

 

 

 

 

 

 

1960) 2007 OMB No. 1545-0074 Page 2
Name(s) shown on Form 1040 \ Your soclal security number
GEORGE T & DEBRA S BROKAW — XXX-XX-XXXX
_ . . h
Schedule B — Interest and Ordinary Dividends seme. OB
Part | 1 List name of payer. If any interest is from a selier-financed mortgage and the buyer used Amount
Interest the property as 2 personal residence, see the instructions and list this interest first. Also,
THERES SS show that buyer's social security number and address 0.0.0... eee, >
WELLS FARGO BANK 5729 }___ 26, 172.
forFor odo, AMERICAN EXPRESS 31004 ~~~ [| 5,000.
line 8a.) WASHINGTON MUTUAL BANK 1863 _ 76,222,
FIRST NATIONAL BANK 1677______ ~~~ / 66,624.
------- 5-2 Zo
Note, if you
received a Form
099-INT, Form

1099-OiD, or
substitute slatement
trom a brokerage
firm, list the firm's
name as the payer
and enter the tolal
interest shown on

 

 

 

 

 

 

 

 

 

that form.
2 104,018.
3 Excludable interest on series EE and | U.S. savings bonds isstied after 1989.
Attach Form 8815 020M vc creer ec 3
4 Subtract line 3 from line 2. Enter the result here and on Form 1040, line Ba .............. -| 4 104,018.
Note. If line 4 is over $1,500, you must complete Part Ill. / Amount
5 Listnameofpayer...”_ foo
Part II moot oe ee ee ee ee
Ordinary eee Aun ed
Dividends Jd
----- ees food
(See aoe. _ oJ
instructions for ~ TO ee em me em —
orm 5 mee eee ee Genre - ee
lme9ay JA ed
—e ee ee meog------ ~~~ eee
Note yoy rr rr ne f-

received a Form
1099-DIV or
substitute Statement
fram a brokerage

Sina

 

 

 

 

 

 

 

 

 

 

 

firm, list the firm's JS
mame as thepayer TT OT mm mmm mm me er a eH HH HH
and enter the /
ordinary dividends ie me me eee ee ee ee
shown on that form. sononennnnof- wee oe LLL

awe nn Jie

---------/ ee

-------- foe ed

--- eee Aes

een ne Eo ee ee

€ Add the amoufts on line 5, Enter the total tere and on Form i040, fine 9a ............... -| 6
Note, If line 6 is over $1,500, you must complete Part lil,
Part ill You must complete this part if you (a) had over $1,500 of taxable interest or ordinary dividends: or (b) had a Yes | No
Forei gn foreign account;. -Or (c) received a distribution from, or were a grantor of, or a transferor to, a foreign trust.
Accounts vas anne .
and 7a At any time during 2007, did you have an interest in or a signature or other authority over a financial account
Terrnde na foréign country, such as a bank account, securities oecount, or other financial account? See instructions
Tyo for exceptions and. filing requirements for Form 7 F922 cece cece an etebetcceeeenes
(See . b If ‘Yes,’ enter the name of the foreign country .
instructions.) IST we a we mw we ee ne
8 Dyting : 2007, did you receive a distribution from, or were you the grantor of, or transferor to, a foreign trust?

if Wes,’ you may have to file Form 3520. See instructions 0.0.0. cccc cc ecece eee, j

BAA For Paperwork Reduction Act Notice, see Form 1040 instructions. FDIAO401 06/11/07 Schedule B (Form 1040) 2007
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GJ-0000035 1
 

 

 

 

 

 

 

 

 

 

 

SCHEDULE C | Profit or Loss From Business OMA No. 1545-0074
{Form 1040) | . (Sole Proprietorship) 20 07
Department of the Treasury * Parinerships, joint ventures, etc, must file Form 1065 or 1065-8. Attachment
internal Revenue Service (99) | Attach to Form 1640, 1040NR, or 1041. ‘>See Instructions for Schedule C (Form 1049). Saguence No. OF
Name of proprietor Social security number (SSN)
GEORGE T BROKAW XXX-XX-XXXX
A Principal business or profession, including product or service (see instructions} B Enter code from instructions
INSURANCE » 524290
C Business name. If no Separate business name, leave blank. D Employer ID number (EIN), if any
E Business address (including suite or room no.)* 2260 PALM DR C
City, town ar past office, state, and ZIP code © > Se a Oe me
ms seanes COLORADO SPRINGS, CO 80918
F Accounting method: (1) Cash (2) L_| Accrual @) LJ Other (specifyyy en ee
G Did you ‘materially participate’ in the operation of this business during 2007? if 'No,' see instructions for limit on losses... . &y es q No
Hit »

Hi_if you started or acquired this business during 2007, check here
sence!

 

cee ivem income

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 Gross receipts or sales. Caution, If this income was reported to you on Form W-2 and the
‘Statutory employee’ box on that form was checked, see the instructions and check here.........._. >[ | 1 97,119,
2 Returns and allowances ee ec ceseteteeetecctesitetetitetrttretere cD 2
3 Subtract line 2 from line Vette center 3 97,119.
4 Cost of goods sold (from line 42 on PAGE 2) cece rine te nt be bert ceb be beb obec. 4
5 Gross profit. Subtract line 4 from line 3. eee ce ce ceeeereeveeetevisee ce 5 97,119,
6 Other income, including federal and state gasoline or fuei tax credit or refund
(See instructions) vcr ccrersrittertttteri etter 6
Z__cross Income. Add lines § and 6 » 7 97,119.
Rar )__ Expenses. Enter expenses for business use of your home only on line 30,
8 Advertising..........0.0....,.. 8 1,260.]18 Office expense........ 18 790.
9 Car and truck expenses 19 Pension and profit-sharing plans 19
(see instructions) ...........,., 9 4,219.] 20 Rentor tease (see instructions):
10 Commissions and fees ......... 19 a Vehicles, machinery, and equipment ..... 20a
Ti Contract labor b Other business property................, 20b
(see instructions) ............,.114 21 Repairs and maintenance .............., 21
12 Depletion 000000, 12 22 Supplies (not included in Part It) ......,. 22 1,320.
13 Depreciation and section 23 Taxes and licenses 6... 23
V3, Sreterdedt eet 24 Travel, meals, and entertainment: ae
(see instructions) .............. 13 aTravel eee c eee a eee 24a
14 Employee benefit programs b Deductible meals and entertainment
(other than on line 19) .... 00... 14 (see instructions)... 0.0 24b
15 Insurance (other than health) .../ 15 25 Utilities 0.0. Le cesaees 25 1,360.
16 interest: 26 Wages (less employment credits) ........ 26
a Morigage (paid to banks, etc) ......., la 27 Other expenses (from line 48 on
bOther oe, 16b PAGE 2) cece cee eee e seen es 27
17_Legal & professional services ...| 17 150. a ;
28 Total expenses before expenses for business use of home. Add lines 8 through 27 in columns ............. >| 28 9,099.
29 Tentative profit (loss). Subtract line 28 from WME cece ccc eee e eee e clic eb beer 29 88,020.
30 Expenses for business use of your home. Attach Form 8829 cece en cee eeenee 30
31 Net profit or (loss). Subtract line 30 from line 29.
® if a profit, enter on both Form 1040, line 12, and Schedule SE, line 2 or on Form = |
TG46NR, line 13 (siziuiory empioyees, see instructions). Estates and trusts, enter on
Form 1041, time oD II 31 88,020.
® If a loss, you must go to line 32.
32 If you have a loss, check the box that describes your investment in this activity (see instructions).
® If you checked 32a, enter the loss on both Form 1046, line 12, and Schedule SE, fine 2, or on Form | All investment is
1040NR, line 13 (statutory employees, see instructions). Estates and trusts, enter on Form 1041, line 3. 32a at risk,
Some investment
® If you checked 32b, you must attach Form 6198, Your loss may be fimited. __32b ry is not at risk,
2. Pp em 8 2

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nme

aperwork Reduction Act Notice, see Form 1040 instructions.

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Schedule C (Form 1040) 2007

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5
Schedule C (Form 1040) 2007 GEORGE T BROKAW XXX-XX-XXXX Page 2
lagu Cost of Goods Soid (sce instructions)

33 Method(s) used to value closing inventory; a LJ Cost b L| Lower of cost or market sc. L | Other (attach explanation)
34 Was there any change in determining quantities, costs, or valuations between opening and closing inventory?
If Yes,’ attach eRPAMAION crete YE Cl Yes [] No
35 inventory ai beginning of year. if different from fast year's closing inventory,
attach explanation ee cece tettene tet trt i ttecesecrsceretteee 35
36 Purchases less cost of items withdrawn for personal Us cece ec ececeeec ce. 36
37 Cost of labor. Do not include any amounts paid to yourself. cece ceeceeeceeec ee. 37
38 Materials and supplies cette eeveteteeritit iter teveere 38
$9 OIE OSES ee ec erect tetas titre te ttre titbibitetrt tee ceee 39
40 Add lines 35 through 39 ice te cette cr eceben ee 40
AY Inventory atlend of year cece ce tec tetnteeteetr sce lv ertie ttre cp 41
42 Cost of goods sold. Subtract line 41 from line 40. Enter the result here and on page I, line4 oo... 42

 

 

 

[RartiVa) information on Your Vehicle. Complete this part only if you are claiming car or truck expenses on line 9 and are not

required to file Form 4562 for this business. See the instructions for line 13 to find out if you must file Form 45

ae.

43 When did you place your vehicle in service for business Purposes? (month, day, year) >» 01/01/2 003)
44 Of the total number of miles you drove your vehicle during 2007, enter the number of miles you used your vehicle for:
a Business 8.699 — b Commuting (see instructions) c Other

45 Do you (or your spouse) have another vehicle available for personal Use? oo ce ec ceeeenecrece. C Yes x] No

46 Was your vehicle available for Personal use during off-duty hours? oo... eee ceeeea cece eceeeceee cece.

Yes

[]No

 

 

 

 

 

 

 

Schedule € (Form 1040) 2007

FDIZQI12 06/15/07

47 a Do you have evidence to Support your deduction? eee cece c ce eee ees eetu tebe bbe eeeere i] Yes C] No
b If ‘Yes,’ is the evidence written? fx] Yes | No
(arivall| Other Expenses. List below business expenses not included on lines 8-26 oF line 30
TTT Tm tert om n nmen nn e  e po
48 Total other expenses. Enter here and on page 1, line 27 cece cence cee ee ce. 48

 

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4 ' ‘

 

 

 

 

 

 

a a
CHEDULE SE a OMB No. 1545-0074
(Form 1040) Self-Employment Tax ann=
| £UU/
Oe; F the Ti
Internal Flewcrue ¢ Service” * Attach to Form 1040. » See instructions for Schedule SE (Form 1040). ea ecence No. 17
Name of person with self-employment income (as shown on Form 1040) Social security number of person
GEORGE T_BROKAW with seif-employment income » |XXX-XX-XXXX
Who Must File Schedule SE
You must file Schedule SE if:
ea

© You had net earnings from self-employment from other than church employee income (line 4 of Short Schedule SE or line 4c of
Long Schedule SE) of $400 or more, or

® You had church employee income of $108.28 or more. Income from services you performed as a minister or a member of a religious
order is not church employee income (see instructions)

Note. Even if you had a loss or a small amount of income from self-emoloym nt. ii may b

SerempioyMent, i may oe

‘ nity | your benefit to file Scheduie SE and use
either ‘optional method’ in Part || of Long Schedule SE (see instructions).

mt

Exception. If your only self-employment income was from earnings as a minister, member of a religious order, or Christian Science
practitioner and you filed Form 4361 and received IRS approval not to be taxed on those earnings, do not file Schedule SE. Instead,
write ‘Exempt — Form 4361‘ on Form 1040, line 58.

May | Use Short Schedule SE or Must | Use Long Schedule SE?

@ Sse or BONG ScCncauie S

ie be
Note, Use this flowchart only if you must file Schedule SE. | unsure, see Who Must File Schedule SE, above.

_ Did you receive wages or tips in 2007?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No Yes
y y y
Are you a minister, member of a religious order, or Yes : : . Yes
Christian Science practitioner wha received IRS approval Loy, Was the total of your wages and tips subject to social
not to be taxed on earnings from these sources, but you security of railroad retirement tax plus your net earnings [-—P
owe self-employment tax on other earnings? from self-employment more than $97,500?
No No
Y Vv
Are you using one of the optional methods to figure your Yes Did you receive tips subject to social security or Medicare [Yes
net earnings (see instructions)? a iax that you did not report to your employer? >
No No
y y
Did you receive church employee income reported on Yes No] Did you report any wages on Form 8919, Uncollected Yes
Form W-2 of $108.28 or more? Pe St Social Security and Medicare Tax on Wages? —
No
Y
|. You may use Short Schedule SE below _| You must use Long Schedule SE on page 2

 

 

 

Section A ~ Short Schedule SE. Caution. Read above to see if you can use Short Schedule SE.

 

1 Net farm profit or (loss) from Schedule F, line 36, and farm partnerships, Schedule K-1 (Form 1065),
DOK 14, COGE A eee never beet bbb ht bibi bbb tbl b rrr 1

 

2 Net profit or (loss) fram Schedule C, line 31: Schedule C-EZ, line 3; Schedule K-1 (Form 1065), box 14, code
A (other than farming): and Schedule K-1 (Form 1065-8), box 9, code JT. Ministers and members of religious

 

 

orders, see instructions for amounts to report on this line. See instructions for other income to report ......... 2 88,02
3 Combine lines 1 and 2... ec ce cece ee ete eee e bbb eb tbe ci bb bbb bp 3 88,020.
A Nat eaeminge fenme cal nent ee Ae ty GO tea 5 aoae, isi - .
~ net carmings rom seu-employment, Multiply line 3 by 92.35% (.9235). If less than $400, do not file

this schedule; you do not owe self-employment tax o.oo... ev cece eececececescece eee cseceeycccec. ~)| 4 81,286.

 

5 Self-employment tax. If the amount on line 4 is:
* $97,500 or less, multiply line 4 by 15.3% (.153). Enter the result here and on Form 1049, line 58. 7

® More than $97,500, multiply line 4 by 2.9% (.029). Then, add $12,090 to the result. Enter the
total here and on Form 1040, line 5d. |

 

 

6 Deduction for one-half of self-employment tax. Multiply line 5 by 50% (.5).
Enter the result here and on Form 1040,line27......|..........,... | 6 | 6,219.

BAA For Paperwork Reduction Act Notice, see Form 1646 instructions. Schedule SE (Form 1040) 2007

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Department of the Treasury - Internal Revenue Service

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Case No. 1:13-cr-00392-CMA Document 249-2 filed 08 olora

| Wie Page 62 of 65

   

DEPARTMENT OF THE TREASURY May 1, 20009
INTERNAL REVENU SERVICE CENTER

FRESNO, CA, 93888-0002

RE: 2008 1040 for XXX-XX-XXXX

Enclosed is a copy of the Taxpayer ID XXX-XX-XXXX tax return form 1040 for the Year 2008 and included
are copies of 1099-O1D’s showing the Tax withheld.

This enclosed return shows a request for a refund of interest income that was unreported and not
distributed to the creator/originator of the funds. The Banking institutions Invested and made increased
returns on the principal without compensating or informing the creator of their actions. The 1099-O1D
forms direct which bank is in possession of the withheld funds.

Please retrieve from the bank the requested funds and facilitate their return to the originator/creator
through the enclosed request for return so that the appropriate amount of tax can be facilitated.

if there are any problems or questions please feel free to communicate with the taxpayer through U5
mail as the taxpayer is unable to communicate any other way. If you feel that the enclosed information
is incorrect or inappropriate, please consult your supervisor to ensure that you are not violating any
criminal or civil procedures by denying the commercial request that is enclosed. All forms are authorized
IRS documents showing valid OMB numbers.

Denial or delay in fulfilling this request will be considered to be a dishonor in Commerce and the agent
responding with dishonor will be liable for the enclosed return request as will the managing supervisor
and the Commissioner of the Internal Revenue Service, DOUGLAS SCHULMAN (fiduciary) per Stirpes.
This letter is notice and billing for the requested return $62,607. If this amount is not refunded within 45
days the billing will begin accruing $1,000 per month for 12 months and $2,000 per month after this.

Thank you for your prompt attentions to this invoicing.

Poa |
py. (/ Lavy * / Mawes, Dahan Lip # Zhf Ry rin'g if

George-Thomas:Brokaw
Secured Party Creditor

Power ~

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CC: Dougias Schulman
Enclosures: Form 1040, Schedule A, Schedu!

 

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Case No. 1:13-cr-00392-CMA Document 249-2 filed 08/14/14 USDC Colorado pg 10 of 16

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Departmen of the Treasury — intemal Revenue Senvce

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Ferm 1 040 U.S. individuai income Tax Return 20038 | (89) AS Use Cnty — Do nol write oF staple in this space
For the year Jan | - Dec 31, 2008, or other tax year beginning 2008, ending 220 OMB No 1545-0074
Lab el Your tirst name Mi Last name Your sacial security qumber
Geemstructons)  loponcr T  BROKAW ee EE he 278-400-2356
hee Het. It a joint return, spouse's first nama Ml Las{ name — ‘ Spouse's social security number
Stabe, ©? [DEBRA S___BROKAW vite tt BOY 292~46-9839
ober of é ‘Home address (number and sireel). Wl you have @ P.O. box. sea mstructions, Apartment no, You must enter your
orype «(2260 PALM pr C PONTAARR AN Tg coral seeuy
City, town or post office. It you have a foregn address, see instructions, State ZIP code maa bow below wall net
Presidential COLORADO SPRINGS cO 80518 ane Four tax or reluad.
Campaign - Check here if you, or your spouse if filing josmtly, want $3 to go to this fund? (see iistructions} ...... > LJ You C] Spouse
Filing Statu 1 L| Single 41} Head of household (with qualifying person}. (See
: 2 ix] Marned filing jointly (even if only one had mcome) eee ctions. ) the qualifying person is a child
Check only 3 CL] Marnied filing teary Enter spouse's SSN above & full name here .
one box. name here. 3 T] Qualifying widower) with dependent child (see instructions) |
Exemptions 6a fx] Yourself. {f someone can claim you as a dependent, de not check boxGa ............ “]_ Sages chacked 2
b (X| Spouse ....... wees tee sue i tee eee eee e eas + ce gt chit 1
* +g a f a
¢ Dependents: Boat sccunty | ashergan’s | oe ened
number to you oe ie aoe Cl
(1) First name Last name (see mnstrs3 live with you
Leper I
rd Donen fastes} 2.
it more than [] on Ge not |
foiir dependents, above
see instructions. | __ Add numbers
d Total number of exemptions claimed eee cee ccc cccc cece secueeeeues shove. . 2 j
- 7 Wages, salaries, tips, etc. Attach Form(s) W-2 ooo. cece ccc cc cecccccecue ee.
Income 8a Taxable interest. Attach Schedule B if required ..........00.sceceee ‘
b Tax-exempt interest. Do not include on line 8a.. .. ........ | 8b| Eaa
Attach Form(s) 9a Ordinary dividends. Attach Schedule B if required........ ... pose bee eee veel
W-2 here. Also b Qualted cividends (see ists) cece ees even ueees | ol i
“attach Forms TG Taxable refunds, credits, of offsets of staie and iocal mcome taxes (See instructions)
if tax was withheld. 11 Alimony received ....00 0 0000 cca crcecnevecee ceeceeee
ty you etd go! 12 Business income or (loss). AHach Schedule C or C-EZ 00000 cece ee 32 43,063.
get aW-2, 13> Capital gain or (loss), Alt Sch O if reqd. if not reqd, ck here cee eee » C] 13
see instructions, 14 Other gains or (losses), Attach Form 4797 00000 occ cece cc cccce cece) be eeeeee 14 i
15a IRA distributions ...0........ a b Taxable arnount (see instrs) ..| 15b
16a Pensions and annuities . .L16a b Taxable amount (see instrs) ..| 166 11,017.
17 Rental reat estate, royalties, partnerships, S corporations, trusts, etc. Atlach Schedule E ..| 17 ,
Erctose, but do 18 Farm income or (ass). Attach SchedulaF eee cece cece cece ee 128 i J
nol attach, any 19 Unemployment compensation... eee 19
please use 2Ga Social secunty benefits... 2... [ 20 al 16 , 676. |b Taxable amount (see instrs) | 20d! 14,175." J
Form 1040-V. 21 Other mcome 21
22 __Add the amounts in the far right column for lines 7 through 21. This is your total income. | 22 165,635.
23 Edueater expenses (see instructions} ...................... 23 F i
Adjusted 24 Certain business expenses of reservists, performing attsts, and f fea-b
Gross gsvernment officials. Attach Form 2106 or 2106-62 .. 0... | 2a
income 25 Health savings account deduction. Attach Form 8889 25
26 Moving expenses. Attach Form 3903 ............,.. 26
27 One-half of self-employment tax. Attach Eomeenieas trom | OP 3,
- Self-employed SEP. SIMPLE. and qualified RECEIVED 28 f
Self-employed health insuranes deductian (see instr ) 23
RF CEI vee Penalty on early withdrawal of savings "Aue 2 4 2609° 39
‘437 31 a Alumony paié b Recipient's SSN | Lala
/ 3Z IRA deduction (see instructions) seen eevesensaceranom ce 132 i
Mas 4 § 7089 Student loan interest deduction (see instructions)... 33
34 Tuition and fees deduction. Attach Form 8917......... 34
INTERNAL REVEN(y: Gave estic production actwities deduction. Attach Form 8903 ws... 35
; FRESNO, CA lines 23. 3la and 32-36 eee cece eee cece ee 3,043,
37 Subtract tine 36 from line 22. This is your adjusted gross income ........_......., 162,592. a
BAA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see Instructions. FOIAOII2 10/3708 Form 1040 (2008) ;
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Form 1080 (2008)

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| WIT Page 64 ofoo) = Page 64 of 69

   

GEORGE T & DEBRA S BROKAW

278-409-2356 Page 2

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Tax and - 38 Amount from ling 37 (adjusted gross income) . .......... Gen) eee 1 38 | 162,592.
Credits 33a Gheck You were born before January 2, 1944, Blind. Total boxes
{ H Spouse was born before January 2, 1944, Blind. checked » 39a
b if your spouse Itemizes on 3 separate retum, or you were a dual-status alien, see instrs and ck hare * 396 |
Standard an. i
Deduction L. © Check if standard deduction includes real estate taxes or disaster logs (see instructions)......... ™ S976 LI ser
for ~ AG ltemized deductions (from Schedule A) or your standard deduetion (see eft margn)............ ........1 40 10,900,
checked any box [41 Subtract fine 40 from line 3B ooo. cece ccc cc ceeccccecece boseebeeeec reece, 4t 151,692,
on bine 39a, 39b, | 42 ff line 38 1s over $119,975, or you provided housing to a Midwestern displaced individual, see mstructions.
or 39¢ or who Otherwise, mutbply $3,500 by the total number of exemptions ciaimed on line 6d... seek. eee ee ce, 42 7,000,
canbe claimed {43 Taxable income. Subtract line 47 from jine 41
a & dependent, If line 42 8 move than line 41, enter. cece cee cee eecee penn eeags 43 144,692,
see Instructions. | 44 Yax (see instrs). Check if any taxis from: a [_] Form(s) 8814
® Ail others: Form 4972 2000.) eee cere cena 29,258.
Single or Married 45 Alternative minimum tax (see instructions). Attach Form 6251.00.00 0.0.0... cc. cee
filing separately, 4 Add lines 44 and 45 000 ec cee ces ees Peek E eR Gee re eb aeee ~ 29,258.
$5,450 47 Foreign tax credit. Attach Form 1116 ifrequred.. . .. .. | 4? eae -
Married filing 48° Credit for child and dependent care expenses, Attach Form 244)... . 2. | 48
jomtly or 49 Credit for the elderly or the disabled. Attach Schedule R ..... a9
widouten, 50 Education credits, Attach Form 8863 ......cce eee. 50
$16,906 Si Retirement savings contributions credit. Attach Form 8380 51
B2 Child tax credit (see instruchoas). Atlach Form 8601 f required Sa
prea ot 53 Creaits from orm a [] 8305 ob [ |e cf ]5e95 ... [53
900 SA Other ers from Form: a [_] 3800 b [[] ssn c Cr 54
55 Add Jines 47 through 54. These are yourtotalcredits © 8 wd cee ..t 88
56 Subtract line 55 from line 46. If fine 55 is more than line 46. enter -O- ml 56 29,258.
57 Self-employment tax. Attach Schedule SE. ccc ccc ccce ceeteetae ceeveneey ey 57 6,085.
Other $8 Unreported social security and Medicare tax from Form: a [4137 b [| 8919... {38
Taxes S9 Additional tay on RAs, other qualified retirement plans, etc, Attach Form 5329 if required... ccc aaa 59
GO Additional taxes; a | AEIC payments = & L_j Hausencid employment taxes. Atiach Schedule #0... |. 66
61__Add \inas 56-60. This ig your total tax... beeen eee 1, ™ 6 35,343.
Payments 62 Federal income tax withheld trom Forms W- 2 and 109 62 "97 2380.
[ifyou havea. G3 2008 estimated tax payments and amount apphed from 2007 return 63
qualifying 64a Earned income credit (EIC) spe cece eas .| 64a
chile, attach [ b Nontaxabie combat pay election .*| 64) [eres
| Schedule EIC. | §& Excess social security and tier 1 RATA tax withheld (see instrucbans) | 83
66 Additional child tax credit. Attach Form 8812 ........... 66
67 Amount paid with request for axtensian to file (see Se eg 67
68 Credits from Form: a [_]2439 b [ Janse c [ | ego a "Clos 68
69 First-time homebuyer credit. Attach Form 5405 . 69
78 Recovery rebate credit (see worksheet)... 0.2... 7G
71_Add lines 62 thraugh 70. These are your total nayments ... 2.2.00... -. ee cece eae 97,950.
Refund 72 Uline 71 ts more than line 6}, subtract line 61 from fine 73. This ts the amount you overpaid . 62, 607.
Mak hoo Jaa Amount of ine 72 vou want refunded te vou. if Farm S899 is att ched, ch 62,607.
Direct deposit?

See instructions
and filt in 73b,

 

 

 

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» b Routing number -

 

 

 

 

 

  

 

 

 

 

 
  

 

  
  
  

 

  

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

73c, and 73d or «=O ” «Account number ....... XXKKXAXAXKKAKKARK
Form 8888. 74 Amount of Inte 72 you want applied to your 2009 estimated tax... .. >| 74 {
Amour nt 75 Amount you owe. Subtract ine 71 from tine 61. For details on how to pay, see instructions _
FOU Uwe 76 Estimated tax penalty (see instructions)... | 76 L a cere
Th ird Party Do you want to allow another person to discuss this return wh the IRS (See instructions)? {J Yes. Complete the following, Ix] No
i Designae's Phone Personal identtication
nee name » > number (PIN) -
Si Urder nenattes of perjury, | deciave that | have examined this return and accempany: -9 schedules and statements, and to {he vast sata thy knowledge ard
sign beltel, iney are trus, correcl, and complete. Declaration of preparer (other than taxpayer) 1s based on al information of which Preparer hag any knowledge,
Here Yoyr signature Date ‘Your oncupation | | Daytime phone sumber
Joint return? o™ . nA ;
See instructions. P Aj 260 "1 france’. S ahtyl hyp [95-61-89 Ot. of Eenvestobdic
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-Wi-1- Page 65'of 69
Schedule B (Form 1040) 2008 OMS Ne. 1545-0074 Page 2
Name(s} shown on Form 1040. Your social security number
GEORGE T & DEBRA S BROKAW XXX-XX-XXXX
Schedule B — Interest and Ordinary Dividends Attachment 03”
Parti 1 List narne of payer. if any interest is from a seller-financed morigage and the buyer used Amoutt
Infaract the property as a personal residence, sea the instructions and ist this interest first. Aiso, 4
sTRarSst Show that buyer's social security number and address .........0..... a /
WELLS FARGO BANK 5729 0 ~ ao 13,280.
forFor 1040, AMERICAN EXPRESS “31004 ~~ 777777777 7777777777 5,000.
. t
line Ba.) FIRST NATIONAL BANK 1677_ 79,100.
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1099.INT. Form oe  !
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interest shown on Te ee me se a na a ak eh a ne rs oe ete Te om ma are oe ee Preece een
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Te me ae em cary ey th he ee gee ly te nee pees meee wee ee we es 7 ve et ome tee 7 [——————nrcemerereeniraatenirrnatininenae
we em eee Me me a en a ee he Laser pees
Add the amounts on ling}... TT f- Swen z 97, 380,
3 Exchidable interest on series EE and i U.S. savings bonds issued tter 1989.
Altach Form 8815 ctr foe, ce | 3
4 Subtract tine 3 trom line 2. Enter the result here and on Form 040, line Ba... | 4 97, 380.
Note, If fine 4 is over $1,500, you must complete Part 1. / Amount
S Listname ofpayer.. my Jon ee a
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Ordinary we ere
Dividends 7
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(See _ _ _ 7
instructions for TT ee fee ee ee he ae
Form 3040, 0 gf ee Me se oe oe we 4 bane
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wee ee {on ee wee ee ee en
Nole, if you eee ae cone ae et nen ee - 7. — en et eS ee ae kan Ae ok mes ee ~~ TT
received a Form 5
TOW-GIV or em 7 ee nae ee mee me eae oe a ee ae rn re
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fname as the payer meee me ame me mee ee on Sem FO mee nee se ee ma a a oe I
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7 “|
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ee an ae ere ee / Fm me Sm a ete me tn an ee ee ee oe ee na ee te
6 __Add the amoynhts on line 5. Enter the total here and on Form 1040. line 9a... 6
Note, if line 6 is ger $1,500, you must complete Part iit.
Part tl You must complete this part if you {a} had over $1,506 of taxable mterest or ordinary dividends; or (b) had a
Forei on foreign account: or (¢} received a distribution from, or were a grantor of, or a transferor to, a foreign trust.
Our . : . : :
Ac ‘4 ts 7a At any time during 2008, did you have an interest in or a signature or other authority over a financial account
Trusts in a foreign country, such as a bank account, securities account, or other financial account? See instructions

for éxceptions and filing requirements for Form TD F 90-221
b If Yes,’ enter the name of the foreian country .. »

(See .
instructions.)

Yes,’ you may have to file Form 3520. See instructions

BAA For Paperwork Reduction Act Notice, see Form 1040 Instructions. FOrACI! 09725708
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FN ea ee aca cee eee

8 Puna 2008, did you receive a distribution from, or were you the grantor of, or transferor to, a foreign trust? at
if Yes,’ you may have to file Form 3520. See instructions owe I i xX

  

Guile & (Form 1040) 2008

   

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Case No. 1:13-cr-00392-CMA Document 249-2 filed 08/14/14 USDC Colorado pg 13 of 16

 

 

 

SCHEDULE C | Profit or Loss From Business OMG No, 1546-0074

(Form 1040) | (Sole Proprietorship) 2 0 08
» Partnerships, joint ventures, etc, generally must file Form 1065 or 1065-8,

Deparinent of IM: SRSLY (ao)! « attach to Form TOa0,/ QAONR, or 1041, See Instructions for Schedule C (Form 1040), Atlechmert ag

 

Name of proprietor

Soclal security number (SSK)
XXX-XX-XXXX

 

INSURANCE

= 524290

Enter code from insiructions

 

 

© Business name, Hino separate business name, leave blank.

 

1D Employer 1D number (EIN), if any

 

E Business address Gnciuding suite ar room noy* 2260 PALM DR C

Gily, town or pos! office, slale, and ZIP code COLORADO SPRINGS, CO 80918
F Accounting method: (1) Cash (2) | Accrual (3) | Other (specify) >

em ee ee mw

G Did you 'matenally participate’ in the operation of this business during 2008? If ‘No,’ see instructions for hmit on losses. . _ ik] Yes TT)
»

No
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H if you started or acquired this business during 2008, check here... Cte. wee cece te eee eens

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

income
1 Gross receipts or sales, Caution. See the instructions and check the box if:
snes, income was reported to you on Form W-2 and the ‘Statutary employee’ box on that form was
° You are a member of a qualified joint venture reporting only rental real estate income not subject co ea mae
to self-ernployment tax. Also see instructions for limit an losses ©0000... 0. ee ccc cece eee Ld i 30,345.
2 Returns and allowances 0.0.00... 6ccccc cecceeeeeecee 0 veep eee) Ceeeeretaetes cheese. 2
3 Subtract line 2 from fine Vo eee eee cece ee su eaa tener eres ) bere Gebbee Geceee. 3 50,345.
4 Cost of goods sold (from line 42 on page 2) 00... ccc ccc ccc cc ee cccseeeeetee beceees  beebeees 4
3 Gross profit. Subtract line 4 from line 3.0... cece cece e caveaueevarees Gene cbebeye be beens 5 50,345.
& Other income, including federal and state gasoline or fuel tax credit or refund
Gee instructions) ccc cc eee e ete eteed ruse ebenereeencbenebnnst benberey Gebebeees 6
7 Gross income, Addlines 5and6.000... ww, oe, ite ee »| 7 50,345.
Eanes Expenses. Enter expenses for business use of your home only on line 30,
& Advertising... 640.118 Officeexpense ......, 0. ee 18 860.
9 Car and truck expenses 19 Pension and profit-sharing plans .... | 19
(see instructions) .............. 9 3,367.) 20 Rent or lease (see instructions): fee aN
10 Commissions and fees....  ...110 a Vehicles, machinery, and equipment 206
“11 Contract tabor h Other business nroperty 2.0.00. 0, 20b
(see instructions) ..........0.... 11 21 Repairs and maintenance ........ ...... 21
12 Depletion ..... 20... cee eens 12 22 Supplies (not included in Part i) ..  ....| 22 930.
“13 Depreciation and section 23 Taxes ard licenses ............. eae a3
(not included in Part il) 24 Travel, meals, and entertainment: Bored
{see instructions)... 0.0.00. 0 0, 13 etraveh caeeeaes ase | Za
14 Employee benefit programs b Deductible meals and entertainment
(other than on fine 19) 00.2... 14 (see instructions) ......0.0.0 ceases 24b
18 Insurance (other than health ...| 15 2 Utiitiies ..0... cee bebe tee v ig caeeees 2 1,165.
16 Interest: ROMER 26 Wages (less employment credits) ........ z6
a Mortgage (paid to banks, et) ........ 16a 2? Other expenses (from fine 48 on
bOther eee ee ae 166 PAKS A ccc cence eve ees
17 _Legai & professional services .. | 17 320.
28 Total expenses before expenses for business use of home, Add Jines 8 through 27 ....
23° Tentative profit or (loss). Subtract line 28 from fine 7000. c ccc ccccceceeece ceeevebeeeeccecee
36 Expenses for dusiness use of your home, Attach Form 8829 00.00. cc ececc cee cece cece
31 Net profit or (ass), Subtract line 30 from line 29.
® if a profit, enter on both Form 1044, line 12, and Schedule SE, line Z or on Form “|
1O40NR, line 13 (if you checked the box on fine 1, see instructions). Estetes and
trusts, enter on Form 1041, line 3. r beck caves 31 43,063.
* If @ loss, you must go to line 32. ~

32 If you have a loss, chack the box that describes your investment in this activily (see instructions).

® if you checked 32a, enter the loss on both Form 1040, tine 12, and Schedule SE, tine 2, or on Form “|

we

TO40NR, line 13 (if you checked the box on line 1, see the line 31 instructions). Estates and trusts, enter

on Form 1641, line 3.

@ if you checked 32b, you must attach Form 6198. Your loss may be limited.
BAA For Paperwork Reduction Act Notice, see Form 1040 instructions,
FORON2 17/20/08

¢ 2, or on Form
r 32a

—

All investment ts
at risk,

Some investment

$2b r] is not at risk.
Schedule € (Form 1040) 2008

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“WI-1= Page 67 of 69

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule C (Form 1040) 2008 GEORGE T BROKAW 278-409-2355 Page 2
wee, Cost of Goods Sold (see instructions}

33, Method(s) used to value closing inventory: a [| [Cost b L] Lower of cost or market = c LI Other (attach explanation)
34 Was there any change in determining quantities, costs, or valuations between opening and closing inventory?

IYes," attach explanation. sos. 7 tee COSIs OF Valuations between opening and closing in oes E]¥es [Jo
3 inventory at beginning ¢ of T year. {t different from last year's closing inventory,

attach explanation... ee acces caves ee ee eee ee eee | 35
36 Purchases less cost of items withdrawn for personatuse 2.0 eee eee. 36
37 Cast of labor, Do nat include any amounts paid to yourseH. ee. 37
38 Materials and supplies 6 ee ect crete teetteeeee oe 38
FO MDE COSI ects cect teeter rttttl bebe 39
40 Add nes 35 through 39. le bttttetettee  cetieeee eee 40
AV Inventory at end of year ce ceteccecetstettttteee  beveeeeee veeef 41

Cost of goods sold, Subtract line 41 from line 40. Enter the result here and on page |, lined oo... 42

Information on Your Vehicle. Complete this part only if you are claiming car or truck expenses on fine 9 and are not
required to file Form 4562 for this business. See the instructions for line 13 to find out if you must file Form $562
43 When did you place your vehicle in service for business purposes? {month, day, year) =» 01/01/20( O3.
44 Of the total number of mites you drove your vehicle during 2008, enter the number of miles you used your vehicle for:
@Business 6131p Commuting (see instructions) cOther = 4, 128
a5 Was your vehicle available for Personal use during off-duty hours? _..... Fe ee eee ee ee K] ves [J No
46 Do you (or your spause) have another vehicle available for Personal use? bc cece eee cee L]Yes [XjNo
47 2 Oo you have evidence to SUPPOTt your dedUCtION? 6 et tceeececeeeeteceetee Geeebrebeeeee x] Yes [J No
* _bif'Yes,' is the evidence written? rin ee Kl yes [1s
maser Other Expenses. List betow business expenses not included on lines 8-26 or line 30

 

 

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SCHEDULE SE | OMB No, 15.85.0074
Form 1840) | Self-Employment Tax 2008
internal Revenue bees ~_ Attach to Form 1040, » See instructions for Schedule SE (Form 1049). Sequence No. 17

 

 

 

 

Name of person with seli-employment moome (as shown on Form 1040) Social securlty number of person
GEORGE T BROKAW with self-employment income * 278-460-2356

 

 

 

Who Must File Schedule SE

You must file Schedule SE it:

® You had net earnings from self-employment

o rom other than church employee income (ine 4 of Short Schedule SE or line 4¢ of
Long Schedule SE) of $400 or mora, or

® You had church employee income of $108.28 or more. Income from services you performed as a minister or a member of &@ religious
order is not church employee incame (see instructions).

Note, Even if you had a lass or a small amount of income trom self-employment, tt may be ta your bi
either ‘optional method! in Part il of Long Schedule SE (see instructions},

co file Schedule SE and use

Exception. If your only self-employment income was from earnings as a minister, member of a religious order, or Christian Science

Practitioner and you filed Form 4361 and received IRS approval not to be taxed on those earnings, do not file Schedule SE. Instead,
write ‘Exempt — Form 4361 on Form 1046, line 57,

May | Use Short Schedule SE or Must I Use Long Schedule SE?

Bhass 1 f

Note. Use this flowchart only if you must file Schedule SE. If unsure, see Who Must File Schedule SE, above.

[—-—_ Did you recaive wages or tips in 2008? i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

total here and on Form 1

No | ves
Y
Are you a minister, member of a religious order, or Ye . Yes
Christian Science practitioner who received IRS approval |p. Was ‘ite {otal of your. wages ang ari sublet social
Owe Set on on eamin o ‘Stren eae Sources, but you earnings from setf-ermploymeni more than $102,0007
No No
r y
Are you using one of the optional methods to figure your Yes Did teceive tips subject to social security or Medicare [Yes
net earnings (see instructions)? tax that you did not report to your employer? i
[ |
No No
Y y
Did you receive church employee income reported an Yes No} Did you report any wages on Form 8919, Uncallected Yes
Form W.2 of $108.28 or more? ee | Social Security amd Medicare Tax on Wages? pawl
[No
¥
i You may use Short Schedule SE below | Lei You must use Long Schedule SE on page 2
Section A — Short Schedule SE. caution. Read above to see if you can use Shori Schedule SE.
1a Net farm profit or Goss) from Schedule F, line 36, and farm Partnerships, Schedule K-1 (Form 1065),
box 14, code A... IT TT BB SUAS et orm 1089) la
b If you received social security retirement or disability benefits, enter the amount of Conservation Reserve
Program payments included on Schedule F, jine 6b, or listed on Schedule K-1 (Form 1065}, box 20, th
ORE ee tr etet nti er rte
2 Net profit or (loss) from Schedule C, line 31; Schedule C-EZ, line 3; Schedule K-1 (Form 1065), box 14, code
A tother than farming); and Schedule K-1 (Form 1065-8), box 9, code JT. Ministers and members of religious
orders, see insts for types of income to report an this line. See instrs for other ncome toreport.......-. 2 43,063.
3 Combine Is 18, 1B tte ctetettiettt te 3 43,063.
4 Net earnings from selt-employment, Multiply line 3 by 92.35% (.9235), if less than $400, do not tile
this schedule; you do nat owe self-employment tax oe ee,
5 Self-employment tax. If the amount on line 4 is:
* $102,000 or less, multiply line 4 by 15.3% (.153). Enter the result here and on Form 1040, line
* More than $102,000, multi fine 4 by 2.9% (029), Then, add $12,648 to the resut, Enter the
, tine 57,

 

6 Deduction for one-half of self-employmant tax, Multiply line 5 by 50% (.5).
Enter the resull here and on Farm 1040, line27_ | 6 | SRDS
BAA For Paperwork Reduction Act Notice, see Form 1040 instructions, FDIAIIOL 09/04/08 Schedule SE (Form 1040) 2008

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Case No. 1:13-cr-00392-CMA Document 249-2 filed 08/14/14” USDC COlMTatO™ py reur te

 

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GEORGE T BROKAW

Streghece ps teweys et no.)

BANK ACCOUNT CRE

 

& Original issue discount on U.S. Treasury obtigations®

 

 

 

 

Gry, state, ang ZIP ie 7 investment expenses
COLGRABC SPRINGS CO 80918 ‘
Account number isee 500801 677 * This may not be the correct figure to report on your

income tax return, See instructions on the back.

 

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for 20089099. 71
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PO BOX 270 2 Other panoche manny 20 Discount
LAS ANIMAS CO 81054-0276
3 Fom 1089-O1D
PAYER’S legal Qag@pat@n umber | RECIPIENT'S BFBEAQR REG: | 3 Early withgrawal ponelty | 4 Fedaral VRS OxAtitnneld Copy B
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RECIPIENT'S name & Description This is important tax

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Form 1099-015

{keep for your records)

[_] CORRECTED (if checked)

 

 

 

 

itemal Revenue Service

 

 

 

 

RECIPIENT'S name
GEORGE T BROKAW

StePZASPAEND RAG. 10

SY CORORABOBPRINGS CO 80918

5 Description

BANK ACCOUNT CREDIT
ACCOUNT 500-6185729

 

8 Onginal issue discount on U.S. Treasury obtigations*

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7 Investmnent expenses

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Account number (800 instraptiongls 5779

 

 

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sncome tax retum. See instructions on the back.

 

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DENVER CO 80274
, $ Form 1099-O1D |
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$ $ For Recipient

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the IRS determines
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reported,

 

Form 1099-O1D

(keep for your records) Department

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[] CORRECTED (if checked)

 

AMERICAN EXPRESS

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for 2008" 5000.00

OMB No. 1645-0117

 

 

Gi the Treasury - internal Revenue Service

 

 

 

 

Sho SEF BALHETRERS 0)
°* COLORADO SPRINGS CO

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Account number peajcayyptions 5 931004

 

 

* This ray not be the correct figure to report on your
incame tax retuin. See instructions on the back.

 

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DALLAS TX 75265-0448

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GEORGE T BROKAW see CREDIT CARD REVOLVING vogitttation and
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